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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                         )       CRIMINAL ACTION NO.
                                                  )
              Plaintiff,                          )       1:21-CR-00032-DLF
                                                  )
v.                                                )
                                                  )
GUY WESLEY REFFITT,                               )
                                                  )
              Defendant.                          )
                                                  )

     MOTION FOR LEAVE TO APPEAL IN FORMA PAUPERIS AND FOR
                   APPOINTMENT OF COUNSEL

       Defendant, Guy Wesley Reffitt, hereby moves this Court for leave to appeal in

forma pauperis and for appointment of counsel and, in support of this motion, sets

forth the following facts and argument:

       1. The Court entered its judgment in this case on December 12, 2024. Any

Notice of Appeal would need to be filed by December 26, 2024.

       2. Mr. Reffitt is currently in transit back to the Eastern District of Texas but

has informed counsel that he wishes to appeal ths judgment. He has further indicated

that he is without funds to pay the filing fee for the Notice of Appeal and is without

funds to retain counsel to prosecute the appeal.1

       3. While it is not possible to send Mr. Reffitt a financial affidavit, have him

       1
        Mr. Reffitt’s agreement with Undersigned Counsel does not include representation on
appeal of the new judgment.
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complete it and then return it while he is in transit all in time to file a Notice of

Appeal by December 26, 2024, Mr. Reffitt has previously been found indigent when

Counsel was appointed to him in the Eastern District of Texas. See Attachment A.

      4. Similarly, this Court has adopted the Presentence Report in this case and

found that Mr. Reffitt does not have the ability to pay a fine. See PSR at ¶ 130.


      WHEREFORE, Guy Wesley Reffitt, respectfully requests this Court to grant

him leave to appeal in forma pauperis and for appointment of counsel.



                                             Respectfully submitted,



                                             /s/ F. Clinton Broden
                                             F. Clinton Broden
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                         CERTIFICATE OF SERVICE

      I, F. Clinton Broden, certify that on December 17, 2024, I caused a copy of the

above document to be served via electronic filing on all counsel of record:


                                             /s/ F. Clinton Broden
                                             F. Clinton Broden




                                         3
